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UNITED STATES DISTRICT COURT SOUTHERN DISTRICT 01= TEXAS

 

Giullian Steele, et al.,
Plaintiffs,
Fversus

Civil Action H»09'z789

Perry’s Restaurant, LLC, et al.,

lI)LmLmlmLmme')lmLm

D efendants .

Conclitional Class Certification

Conditionally, the court establishes a class of tippecl Workers at a Perry’s Restaurant

operated by Leasing Enterprises, Ltd., between Decernber 15, zoto, and today.

Signecl on]anuary 17, 2013, at Houston, Texas.

W/j§j;_\_

Lynn N. Hughes
Unitecl States District]udge

 

 

 

 

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li you Worl<ed for tips at a
Perry’s restaurant
only after December 1 5, zolo,
you may asl< for additional Wages
A few Worl<ers have sued Perry’s about Wages. The court has ruled that some Worl<ers
are entitled to additional wages lf you worked for it and got tips as part of your pay, you

may claim additional money. lf you qualify, you must send a consent form. li you do not
Want to asl< for anything, simply do nothing

 

Tl'ie United States Disttict C ourt in Houston has approved this notice.

 

 

